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                 Exhibit 3
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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


AMERICAN OVERSIGHT,

           Plaintiff,

           V.                                 No. 25-cv-883

PETE HEGSETH, in his   ficial
capacity as Secretary of
Defense, et al.,

            Defendants.


                DECLARATION OF HURLEY V. BLANKENSHIP

I, Hurley V. Blankenship, hereby declare as follows:

     1.    I currently serve as the Chief Data Officer (COO) and

the Director of the Agency Data Office (ADO) at the Central

Intelligence Agency ("CIA" or "Agency").          I have       ld this

position since November        , 2019, and I have served as a CIA

officer for over 13 years.       In my capacity as COO, and pursuant

to the OPEN Government Data Act of 2019, I am responsible for

lifecycle data management of the CIA and carry out                 ous

statutory responsibil        es pertaining to the maintenance and

preservation of CIA data.      As CDO, I have been designated by the

Director of the Central Intelligence Agency as the Senior Agency

Official for Records Management and the CIA Archivist, who is

respons      for implementing the Agency's records maintenance

and preservation obligat          under the        ral Records Act.          As



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COO and Director of the ADO, I oversee information management on

behalf of the CIA and work to develop unified strategies,

policies, standards, and practices to govern the acquisition,

use, management, and protection of CIA data.

     2.           Through the exercise of my official duties, I have

become familiar with the claims asserted against the defendants

in this matter, including those against CIA Director John L.

Ratcliffe in his official capacity.               I make the following

statements based upon my personal knowledge and information made

available to me in my official capacity.

     3.           I understand that Director Ratcliffe maintains a

personal account on the commercial messaging application known

as Signal, through which he was invited to participate in "the

Signal chat" referenced in the plaintiff's complaint.                   See

Compl.    ':IT   28.   I further understand that residual administrative

content from "the Signal chat" was retrievable from that

account, and that that content has since been transferred to

Agency systems.

     4.           I understand that on 27 March 2025, CIA's Office of

General Counsel issued a litigation hold notice, which directed

relevant offices and officers to preserve documents and

information pertaining to this matter.




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                               *     *      *

     I hereby declare under penalty of perjury that the

foregoing is true and correct.




    Executed this 31st day of March 2025




                                   Chief Data Officer
                                   Central Intelligence Agency




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